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                                          EXHIBIT A


                              UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF FLORIDA

                                 CASE NO. 9:16-cv-80060-MARRA
   BRANDON LEIDEL, and
   MICHAEL WILSON, individually,
   and on behalf of All Others Similarly
   Situated,

          Plaintiffs,
   v.

   PROJECT INVESTORS, INC.,
   d/b/a CRYPTSY, a Florida corporation,
   PAUL VERNON, an individual, and
   LORIE ANN NETTLES, an individual,

         Defendants.
   ________________________________/

            CLASS ACTION AND RECEIVERSHIP SETTLEMENT AGREEMENT

          This Settlement Agreement is made and entered as of October 19, 2016, subject to

   approval of the United States District Court for the Southern District of Florida, among and

   between Plaintiffs Brandon Leidel and Michael Wilson, for themselves and on behalf of the

   putative Settlement Class as defined below (“Plaintiffs”), James D. Sallah, not individually but

   solely in his capacity as the Court-appointed Receiver, (the “Receiver”), and Defendant Lorie

   Ann Nettles (“Defendant Nettles”)(collectively, "Parties").

                                                 RECITALS

          WHEREAS, Plaintiffs filed the above-captioned class action lawsuit against Defendant

   Nettles and Defendants Project Investors, Inc. d/b/a Cryptsy (“Cryptsy”) and Paul Vernon

   (“Vernon)(the “Action”);

          WHEREAS, Plaintiffs and the Settlement Class, as defined below, maintained customer

   accounts at Cryptsy into which Plaintiffs and the Settlement Class had deposited digital currency




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   and other valuable assets (i.e., cryptocurrency);

          WHEREAS, in the Action, Plaintiffs alleged that Defendants Cryptsy and Vernon

   (referred to herein collectively as the “Cryptsy Defendants”) acted unlawfully by denying

   account holders, including Plaintiffs and the Settlement Class, as defined below, the ability to

   withdraw or use the funds in their accounts and by stealing for the Cryptsy Defendants’ own use

   and benefit the cryptocurrency held in the Cryptsy customer accounts;

          WHEREAS, in total, Plaintiffs allege that the Cryptsy Defendants stole approximately

   $5 million from Plaintiffs and the Class, of which Plaintiffs alleged $1.375 million was used by

   Vernon and Defendant Nettles to purchase a property located at 16832 Charles River Drive,

   Delray Beach, Florida 33446 (the “Property”); the Property was transferred to Nettles as part of a

   divorce settlement.;

          WHEREAS, Plaintiffs asserted in their Amended Class Action Complaint claims for

   Conversion, Negligence, Unjust Enrichment, Specific Performance, violation of Florida’s

   Deceptive Unfair Trade Practices Act (“FDUPTA”), Fraudulent Conveyance, and Civil

   Conspiracy;

          WHEREAS, Plaintiffs served Defendants Cryptsy and Vernon as ordered by the Court

   (DE 16 and 20), but those Defendants failed to file any response to the Amended Class Action

   Complaint or otherwise appear in the case such that a default was entered against each of them

   (DE 25; DE 51);

          WHEREAS, Defendant Nettles filed a motion (DE 19) seeking to have the Court dismiss

   the Amended Class Action Complaint, and such motion to dismiss is currently pending before

   the Court;

          WHEREAS, at the request of Plaintiffs (DE 18), and pursuant to the April 4, 2016 Order




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   Granting Plaintiffs’ Renewed Motion for Appointment of James D. Sallah, Esq. as

   Receiver/Corporate Monitor over Defendant Project Investors, Inc. d/b/a Cryptsy (the

   “Appointment Order”) (DE 33), the Receiver was appointed by the Honorable Kenneth A. Marra

   of the United States District Court for the Southern District of Florida to, inter alia, initiate,

   defend, compromise, adjust, intervene in, dispose of, or become a party to any lawsuits or

   arbitrations in state, federal or foreign jurisdictions necessary to preserve or increase the assets of

   Cryptsy and/or on behalf of Cryptsy and for the benefit of its investors and customers;

             WHEREAS, one of the Receiver’s duties is to attempt to recover assets or monies on

   behalf of Cryptsy and for the benefit of its account holders/users – i.e., Plaintiffs and the

   Settlement Class – from anyone whom the Receiver contends improperly received assets or

   monies derived from Cryptsy and whom the Receiver contends owe such back to Cryptsy and/or

   its account holders/users, and Receiver, Receiver’s Counsel, and Plaintiffs’ Lead Counsel

   worked cooperatively to do so;

             WHEREAS, Defendant Nettles is the title owner of the Property;

             WHEREAS, Plaintiffs and the Receiver contend that the Property is a receivership asset

   subject to turnover to the Receiver for the benefit of the Settlement Class and the receivership

   estate;

             WHEREAS, Defendant Nettles is the owner of the Tiffany ring bearing Tiffany & Co.

   Diamond Certificate 32189091/003200016 (the “Diamond Ring”);

             WHEREAS, Plaintiffs and the Receiver contend that the Diamond Ring is a receivership

   asset subject to turnover to the Receiver for the benefit of the Settlement Class and receivership

   estate;

             WHEREAS, Plaintiffs, Receiver, and Defendant Nettles attended a court-ordered




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   mediation on August 15, 2016 before Judge (Retired) Howard Tescher and reached an agreement

   to resolve Plaintiffs’ and Receiver’s claims against Defendant Nettles;

           WHEREAS, the terms and conditions of the Mediation Settlement Agreement are

   incorporated herein by reference.

           WHEREAS, neither the Mediation Settlement Agreement nor this Agreement concern,

   impact or otherwise affect Plaintiffs’ and Receiver’s claims against the Cryptsy Defendants or

   any other person or entity not yet sued by Plaintiffs and Receiver;

           WHEREAS, on August 5, 2016, the Court entered an order (DE 65) granting Plaintiffs’

   Motion for Class Certification (DE 59);

           WHEREAS, the Parties recognize that the outcome of the action is uncertain, and that a

   final resolution through the litigation process would require several years of protracted

   adversarial litigation and appeals; involve substantial risk and expense; cause the distraction and

   diversion of Defendant Nettles’ resources; and result in additional expenses associated with

   possible future litigation raising similar or duplicative claims.            Plaintiffs' Lead Counsel,

   Receiver, and Receiver’s counsel have concluded, after inquiry and investigation of the facts,

   that the Settlement is fair, reasonable, adequate, and in the best interests of the Settlement Class

   and receivership estate; and the Parties and their counsel have agreed to resolve the action as a

   class action settlement according to the terms of this Settlement Agreement;

           WHEREAS, Defendant Nettles denies wrongdoing and liability but has concluded that

   she will enter into this Settlement Agreement, among other reasons, to avoid the further expense,

   inconvenience, burden, distractions, uncertainty, and risk of litigation and any other present or

   future litigation arising out of the facts that gave rise to the litigation in the Action;

           NOW, THEREFORE, without (a) any admission or concession whatsoever on the part




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   of Plaintiffs or Receiver as to the strength or weakness of the merits of the Action, or (b) any

   admission or concession of liability or wrongdoing or the lack of merit of any defense

   whatsoever by Defendant Nettles, it is hereby stipulated and agreed by the undersigned, on

   behalf of Plaintiffs, Receiver, the Settlement Class, and Defendant Nettles that all Claims against

   Defendant Nettles be forever settled, compromised, released, and dismissed on the merits with

   prejudice on the following terms and conditions, subject to the Court's approval:

          I.        DEFINITIONS

          Under this Settlement Agreement, the defined terms above, and following terms set forth

   below, shall have the meanings as respectively indicated:

          A.        "Action" means all claims by Plaintiffs, the Settlement Class, and Receiver

   against Defendant Nettles in the above-captioned action, and explicitly excludes all claims

   against the Cryptsy Defendants and any other person or entity not currently named in the Action.

          B.        "Agreement" and “Settlement Agreement” means this Settlement Agreement,

   inclusive of all exhibits and the addendum hereto.

          C.        "CAFA Notice" means the notice of this settlement to the appropriate federal and

   state officials in the United States, as provided by the Class Action Fairness Act of 2005, 28

   U.S.C. § 1715.

          D.        "Claim" and "Claims" mean all claims, demands, actions, suits, causes of action,

   allegations of wrongdoing, and liabilities by a Settlement Class Member against a Released Party

   that was or could have been brought in the Action.

          E.        "Claims Administration" means any and all actions taken by the Claims

   Administrator in furtherance of the terms of this Settlement Agreement.

          F.        "Claims Administrator" means a third-party claims administrator agreed upon by




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   Receiver and Plaintiffs’ Lead Counsel, as defined herein

          G.      "Claims Deadline" shall be ninety (90) days after the Notice Date.

          H.      "Claim Form" means the Court-approved form to be submitted by Settlement

   Class Members to the Claims Administrator in the form of Exhibit A hereto.

          I.      "Class Member" means a person or entity belonging to the Settlement Class.

          J.      "Class Notice" means the forms of notice, attached hereto as Exhibits B agreed to

   by the Parties, or such other form as may be approved by the Court that, among other things,

   informs the Class Members of: (i) the certification of the Action; (ii) the date and location of the

   Final Approval Hearing; (iii) the elements of the Settlement Agreement; (iv) the process by

   which Class Members may Opt Out of the Settlement Class or object to the Settlement

   Agreement; and (v) the process by which Settlement Class Members may apply to obtain

   compensation from the Settlement.

          K.      “Court” means the United States District Court for the Southern District of

   Florida.

          L.      "Defendant Nettles’ Counsel" means Mark A. Levy, Esq. of Brinkley Morgan.

          M.      "Effective Date" shall mean the next business day following the last date on

   which a notice of appeal directed to the entry of the Final Approval Order and Judgment could

   have been timely filed but with no notice of appeal having been filed; or, should an appeal be

   filed, it shall mean the next business day after the Final Order and Judgment is affirmed, all

   appeals are dismissed, and no further appeal is permitted.

          N.      "Escrow Agent" means the Receiver.

          O.      "Final Approval Hearing Date" shall mean the hearing date set by the Court on

   which the Court takes up for consideration Plaintiffs’ motion for final approval of the Settlement




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   Agreement.

          P.      "Final Approval Order and Judgment" shall have the meaning assigned in §VII(F)

   of this Settlement Agreement.

          Q.      "Mediation Agreement" means the document dated August 15, 2016, that set forth

   the terms of the settlement reached by the Parties, which is superseded by this Settlement

   Agreement.

          R.      "Net Settlement Fund" means the Settlement Fund less any attorneys' fees, costs

   and expenses paid to Plaintiffs’ Lead Counsel, Receiver, and Receiver’s Counsel, any award to

   Plaintiffs Brandon Leidel and Michael Wilson provided for herein or approved by the Court,

   Notice and Administration Expenses, Taxes and Tax Expenses, and any other Court-approved

   deductions.

          S.      "Notice" means the notice provided to the Class Members pursuant to the Federal

   Rules of Civil Procedure and the mechanisms set forth in §IV of this Settlement Agreement.

          T.      "Notice Date" means the date on which the Claims Administrator publishes the

   Notices provided for in § IV(A)(2)(a) of this Settlement Agreement.

          U.      "Objection Date" means the date by which Class Members must file with the

   Court written notice of any objection or opposition to this Settlement Agreement or any part or

   provision thereof as set forth in Section VII(E) below.

          V.      "Opt Out" shall have the meaning assigned to it §VII(D) of this Settlement

   Agreement.

          W.      "Opt Out Deadline" shall be sixty (60) days after the Notice Date.

          X.      "Parties" shall have the meaning assigned to it in the preamble of this Settlement

   Agreement.




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            Y.    "Person" or "Persons" means all persons and entities including without limitation

   natural persons, firms, corporations, limited liability companies, joint ventures, joint stock

   companies, unincorporated organizations, agencies, bodies, associations, partnerships, limited

   liability partnerships, and their predecessors, successors, administrators, executors, heirs and

   assigns.

            Z.    "Plaintiffs" means Brandon Leidel and Michael Wilson.

            AA.   ''Plaintiffs' Lead Counsel" and “Class Counsel” means Wites & Kapetan, P.A. and

   Silver Law Group.

            BB.   “Plan of Allocation” means the plan and formula of allocation of the Net

   Settlement Fund by which the Net Settlement Fund shall be distributed to Authorized Claimants.

            CC.   "Preliminary Approval" means the entry by the Court of the Preliminary Approval

   Order.

            DD.   "Preliminary Approval Order" means the Order to be presented to the Court

   which, if entered by the Court, will preliminarily approve the Settlement Agreement, and

   approve the Claim Form and Class Notice in substantially the same form as Exhibits A and B.

            EE.   “Receiver’s Counsel” means Patrick J. Rengstl, Esq. of Payton & Rengstl.

            FF.   "Released Claims" are defined in §VIII below.

            GG.   "Released Party" means Defendant Nettles, her agents, attorneys, successors and

   assigns, but expressly excludes the Cryptsy Defendants (including without limitation natural

   persons, firms, corporations, officers, directors, shareholders, limited liability companies,

   members, managers, joint ventures, joint stock companies, unincorporated organizations,

   agencies, bodies, associations, partnerships, limited liability partnerships, partners, and their

   predecessors, successors, administrators, executors, heirs and assigns) and any other person or




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   entity not yet sued in the Action by Plaintiffs and Receiver, including but not limited to

   Defendant Paul Vernon.

            HH.    "Releasing Party" means the Receiver, each Plaintiff and each Settlement Class

   Member and any Person claiming by or through him/her/it as his/her/its spouse, child, ward, next

   friend, heir, devisee, beneficiary, legatee, invitee, employee, customer, associate, co-owner,

   attorney, agent, administrator, predecessor, successor, assignee, representative of any kind,

   shareholder, partner, director, or affiliate.

            II.    "Settlement Amount" means the monies, real property (including but not

   necessarily limited to the Property), personal property described and defined in Section II(A)

   below.

            JJ.    "Settlement Class" means all Cryptsy account holders who held Bitcoins,

   alternative cryptocurrencies, or any other form of monies or currency at Cryptsy at any point in

   time between November 1, 2015 and the present date.         Excluded from the Class are: (1)

   employees of Cryptsy, including its shareholders, officers and directors and members of their

   immediate families; (2) any judge to whom this action is assigned and the judge’s immediate

   family; and (3) persons who timely and validly opt to exclude themselves from the Settlement

   Class.

            KK.    "Settlement Class Member" is a person or entity fitting the definition of the

   Settlement Class and who has not validly and timely sought to Opt Out of the Settlement Class.

            LL.    "Settlement Fund" means the Settlement Amount plus all interest and accretions

   thereto and which may be reduced by payments or deductions as provided herein or by Court

   order.




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           II.    THE SETTLEMENT

           A.     The Settlement Amount consists of the following:

                  1.     All monies received from the sale of the Diamond Ring, as defined

                         and detailed in Section IIIA below;

                  2.     All monies received from the sale of the Property, as defined and

                         detailed in Section IIIB below;

                  3.     All monies received from the sale of the cryptocurrency

                         marshalled by the Receiver and as initially described in Second

                         Report of Receiver James D. Sallah (D.E. 60);

                  4.     All monies received from the sale of personal property marshalled

                         by the Receiver and as initially described in Second Report of

                         Receiver James D. Sallah (D.E. 60);

                  5.     All monies received from the sale of an Infiniti QX60, as detailed

                         in the Receiver’s Motion for Authority to Liquidate Infiniti QX60

                         (see D.E. 64); and

                  6.     Any other assets and monies obtained by Plaintiffs’ Lead Counsel

                         or Receiver for the benefit of the Settlement Class.

           B.     The Escrow Agent shall deposit the Settlement Amount plus any accrued interest

    thereon in a segregated escrow account (the "Escrow Account") established and maintained by

    the Escrow Agent. Any interest earned on the Settlement Amount shall become and remain part

    of the Settlement Amount.

           C.      The Settlement Fund shall be applied as follows:

                  1.     To pay all the costs and expenses reasonably and actually incurred in



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                          connection with providing notice, locating Class Members, soliciting

                          Class claims, assisting with the filing of claims, administering and

                          distributing the Net Settlement Fund to Authorized Claimants, processing

                          Claim Forms, and paying escrow fees and costs, if any;

                   2.     To pay the Taxes and Tax Expenses of the Escrow Account;

                   3.     To pay attorneys' fees and expenses of Plaintiffs’ Lead Counsel, Receiver,

                          Receiver’s Counsel, and to pay Plaintiffs Brandon Leidel and Michael

                          Wilson their incentive awards, if and to the extent allowed by the Court;

                   4.     After the Effective Date, to distribute the Net Settlement Fund to the

                          Settlement Class Members as allowed by this Agreement in the Plan of

                          Allocation and subject to the approval of the Court; and

                   5.     To pay the balance which still remains in the Net Settlement Fund, if any,

                          to an appropriate non-profit organization as allowed by this Agreement in

                          the Plan of Allocation and subject to the approval of the Court.

           III.    DEFENDANT NETTLES’ OBLIGATIONS

           A.      Following the August 15, 2016 mediation, Defendant Nettles relinquished

    possession of the Diamond Ring to the Receiver. The Receiver shall continue to hold the

    Diamond Ring in escrow pending the Court’s final approval of this Agreement. At the

    appropriate time following the Effective Date, the Receiver shall file a separate motion regarding

    the proposed sale of the Diamond Ring for the benefit of the Class and the receivership estate.

           B.      Upon the Court’s order approving the Receiver’s Motion to Approve Settlement

    Agreement as to the Conveyance of the Property becoming final, Defendant Nettles shall deed

    by Quit Claim Deed, or other necessary conveyance, the Property to the Receiver, and the




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    Receiver shall be permitted, subject to the instructions and order of the Court, to sell and close

    on the sale of the Property for the benefit of the Class and the receivership estate. At the

    appropriate time, the Receiver shall file a separate motion(s) regarding the proposed sale of the

    Property.

           C.         Defendant Nettles may continue to occupy the Property until closing date of the

    sale of the Property. The proceeds from such sale, less all commission, fees and expenses

    associated with the maintenance and sale of the Property, and the payment to Defendant Nettles

    referenced below (the “Net Property Sale Proceeds”), shall be part of the Settlement Fund as

    defined herein.

           D.         Defendant Nettles shall receive from the proceeds of the sale of the Property a

    total of Two Hundred and Fifty Thousand Dollars ($250,000.00), which shall be paid to the trust

    account of Defendant Nettles’ Counsel in connection with the closing, provided, however, that if

    Defendant Nettles has in any way encumbered the Property, or failed to pay any taxes,

    insurances, fees or other monies due on or for the Property before or on the date of the closing,

    such amounts in arrears or owed shall be included on the HUD-1/closing disclosure statement

    and shall be deducted from the $250,000.00 otherwise due to Defendant Nettles. Defendant

    Nettles shall be responsible for paying only the prorated amount of real estate taxes and other

    expenses incurred or otherwise due through and including the date of the closing.

           E.         Defendant Nettles shall sign whatever documents are necessary at or before

    closing of the sale of the Property to effectuate the terms of this Agreement.

           F.         Through the date of closing the sale of the Property, Defendant Nettles and her

    daughters may continue to occupy and live in the Property. Therefore, Defendant Nettles and

    her daughters shall vacate the Property on or before the closing date.




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           G.      Through the date of closing the sale of the Property, Defendant Nettles shall

    continue to maintain the Property, and shall be responsible and pay for all expenses to maintain

    the Property, including, but not limited to, real estate taxes, adequate home owner’s and

    hurricane insurances, homeowner’s association fees, pool care, lawn and landscaping, and all

    other expenses for maintaining the Property.

           H.      Other than the above-described deed to the Receiver, Defendant Nettles shall not

    transfer, sell, convey or encumber the Property and therefore the prior agreed-to preliminary

    injunction that prohibits Defendant Nettles from transferring, selling, conveying, or encumbering

    the Property shall remain in full force and effect.

           I.      As of August 15, 2016, Defendant Nettles shall provide the Receiver with

    reasonable access to the Property on 24-hours notice.

           J.    Defendant Nettles represents and promises that she has not, directly or indirectly,

    held and is not, directly or indirectly, holding any monies or assets on behalf of Vernon.

           K.      Defendant Nettles represents and promises that she has not transferred any monies

    or assets to Vernon or his designees.

           L.      As of August 15, 2016, Defendant Nettles represents and promises that she has not

    received any additional monies or assets, directly or indirectly, from Vernon, or anyone on his

    behalf, beyond what she has disclosed in the Action, including in documents bates labeled NET

    00001 – NET 02096.

           M.      If the Court does not enter the Final Approval Order and Judgment, or if such

    Final Approval Order and Judgment is reversed on Appeal, and the reasons for such order(s) are

    based on procedural or mechanical issues that can be resolved through changes and/or

    amendments to the Notice, Class Notice, Claim Form, Claims Process, the calculation of




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    payments to Settlement Class Members, attorney’s fees, incentive awards, costs, expenses, or

    any other issues concerning notice or the administration of any aspect of this Settlement

    Agreement, the parties hereto will make such changes to this Settlement Agreement to comply

    with such orders and seek again an order granting final approval of such revised settlement

    agreement and a Final Approval Order and Judgment. However, if this Settlement Agreement is

    not approved because a court determines that the Settlement Fund, as to the consideration

    provided by Defendant Nettles, does not provide fair and meaningful relief to the Class, than the

    Net Property Sale Proceeds and the Diamond Ring shall be returned to Defendant Nettles within

    ten (10) days of that order becoming final.

           N.      Defendant Nettles waives any right to submit a claim form or a claim of any kind

    in the receivership or class action proceeding.

           O.      Defendant Nettles shall not oppose any application by the Receiver or Plaintiffs’

    Lead Counsel for attorney’s fees and costs in the Action.

           P.      Defendant Nettles shall continue to be bound by the provisions and requirements

    in the Appointment Order.

           Q.      The motion to approve this Agreement shall be filed before the Court in the Class

    Action Lawsuit.

           IV.     NOTICE AND CLAIMS PROCEDURES

           A.      Notice

                   1.       Form of Class Notice: Subject to approval of the Court, Class Notice shall

                            be made by publication, and to the extent reasonably possibly be email or

                            U.S. mail (i.e., direct mail) where no email address is available, as set

                            forth below in the forms attached hereto as Exhibit B.




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               2.    Dissemination of Notice:

                     (a)    Notice Date: Subject to approval by the Court, the Class Notice
                            shall be reasonably disseminated within forty-five (45) days of the
                            entry of the Preliminary Approval Order by the Court.

                     (b)    Notice by Email: The Claims Administrator shall cause Notice to
                            be disseminated by email to: (1) all persons who provided their
                            contact information to Plaintiffs’ Lead Counsel and Receiver and
                            (2) who can be identified from the records of Cryptsy.

                     (c)    Notice by Direct Mail: The Claims Administrator shall cause
                            Notice to be disseminated by direct mail to: (1) all persons who
                            provided their contact information to Plaintiffs’ Lead Counsel and
                            Receiver and such information does not include a valid email
                            address, and (2) who can be identified from the records of Cryptsy
                            where such records do not include a valid email address.

                     (d)    Notice By Publication: Subject to approval by the Court, the Class
                            Notice shall be published as follows: a web-based banner ad
                            program on at least two websites that, according to Lead
                            Plaintiffs’ Counsel and Receiver, are the amongst the high ranking
                            websites for cryptocurrency investors. Further, the Class Notice
                            will be posted on the Settlement Website, Plaintiffs’ Lead
                            Counsel’s Websites, and at the Cryptsy Receivership Website.

                     (e)    Website: The Claims Administrator shall cause a website to be
                            created containing Claims information and relevant documents.
                            The cost of creating and maintaining this website shall be paid
                            from the Settlement Fund.

               3.    Cost of Notice: Costs of the Class Notice, as detailed above, and Claims

                     Administration, shall be paid from the Settlement Fund.

               4.    Claims Administrator to Effect Notice: The Claims Administrator shall be

                     responsible for placing and mailing the Class Notice pursuant to §IV and

                     implementing the notice plan approved by the Court.

               5.    Certification Notice Given: Within thirty (30) days of completion of the

                     dissemination and publication of the Class Notice as described above, the

                     Claims Administrator shall certify to the Court that it disseminated and



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                      published the Class Notice pursuant to the approved notice plan. The

                      Claims Administrator shall also certify the dates that Class Notices were

                      actually published as described above, provide a true copy of each Class

                      Notice in each publication, and provide any other information relevant to

                      the publication and mailing of the Class Notice and other Notices.

               6.     CAFA Notice: The Claims Administrator shall serve notice of this

                      Settlement Agreement that meets the requirements of the Class Action

                      Fairness Act of 1995, 28 U.S.C. § 1715, on the appropriate federal and

                      state officials not later than 10 days after the filing of this Settlement

                      Agreement with the Court.

          B.   Claims Procedures Applicable to All Claims

               1.     All Settlement Class Members shall be bound by the claims procedures

                      set forth below to submit a claim for a distribution under the Plan of

                      Allocation.

               2.     Submission of Claim Form: Each Settlement Class Member shall sign and

                      submit a completed Claim Form in the form of Exhibit A hereto together

                      with all other documentation, if any, set forth below either online or on the

                      Settlement Website. A Claim Form must be submitted by regular First

                      Class U.S. Mail, fax, or by electronic mail in Portable Document Format

                      ("PDF") to the Claims Administrator, or such other method approved by

                      the Court. Claim Forms will be made available by mail and for

                      downloading from the Settlement Website maintained by the Claims

                      Administrator and may be made available on the websites of Plaintiffs'




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                      Lead Counsel. Defendant Nettles’ Counsel agrees to keep confidential the

                      information provided by Class Members on Claim Forms and to not share,

                      distribute, or otherwise make available to Vernon or any person or entity

                      acting on their behalf of otherwise representing them such materials.

                      Defendant Nettles shall not be allowed to view or receive copies of any

                      information provided by Class Members.

               3.     Verification: The Settlement Class Member shall sign the verification by

                      hand on the Claim Form that states as follows:

               I declare under penalty of perjury under the laws of the United
               States of America that all of the foregoing information supplied on
               this Proof of Claim and Release form by the undersigned is true
               and correct

               4.     Claims Administration and Deadlines:

                      (a)    Receiver and Plaintiffs’ Lead Counsel shall supervise the Claims
                             Administrator and Claims Administration process.

                      (b)    All Claim Forms must be received by the Claims Administrator by
                             the Claims Deadline unless such period is extended by Order of the
                             Court. The Claims Deadline shall be set forth in the Class Notice,
                             the websites of the Claims Administrator, and Plaintiffs' Lead
                             Counsel, as well as on the front page of all Claims Forms.

                      (c)    Any Class Member who fails to timely submit a Claim Form shall
                             be forever barred from receiving any payment pursuant to this
                             Agreement (unless, by Order of the Court, a later submitted Claim
                             Form by such Class Member is approved), but shall in all other
                             respects be bound by all of the terms of this Agreement and the
                             Settlement. A Claim Form shall be deemed to have been submitted
                             when posted, if received with a postmark indicated on the envelope
                             and if mailed first-class postage prepaid, or when it is received by
                             the Claims Administrator.

                      (d)    Subject to the discretion of the Court, Class Members who do not
                             timely submit a completed Claim Form shall not be eligible to
                             participate in the settlement consideration unless such period is
                             extended by Order of the Court. Any Class Member who fails to
                             timely submit a completed Claim Form shall be forever barred


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                           from receiving any payment pursuant to this Settlement Agreement
                           (unless, by Order of the Court, a later submitted Claim Form by
                           such Class Member is approved), but shall in all other respects be
                           bound by all of the terms of this Settlement Agreement. However,
                           the Claims Administrator may, in its discretion, permit a Class
                           Member who makes a timely Claim to remedy deficiencies in such
                           Class Member's Claim Form or related documentation.

                     (e)   The Claims Administrator shall maintain records of all Claim
                           Forms submitted. The Claims Administrator shall maintain all such
                           records until all Claim Forms have been finally resolved, and such
                           records will be made available upon request to Defendant Nettles’
                           Counsel or Plaintiffs' Lead Counsel.

                     (f)   Class Proofs of Claim that do not meet the submission
                           requirements may be rejected. Prior to rejection of a Claim Form,
                           the Third-Party Administrator shall communicate with the
                           Settlement Class Member in order to afford the Settlement Class
                           Member an opportunity to remedy curable deficiencies in the
                           Claim Form submitted. The Third-Party Administrator shall notify
                           in a timely fashion and in writing, by email or by U.S. Mail, all
                           Settlement Class Members whose Class Proofs of Claim or
                           Allowed Claims it proposes to reject in whole or in part, setting
                           forth the reasons therefor, and shall indicate in such notice that the
                           Settlement Class Member has the right to a review by the Court if
                           the Settlement Class Member so desires and complies with the
                           requirements of subparagraph 4g immediately below;

                     (g)   If any Settlement Class Member whose claim has been rejected in
                           whole or in part desires to contest such rejection, the Settlement
                           Class Member must, within twenty (20) days after the date of
                           mailing of the notice required in subparagraph 4f immediately
                           above, serve upon the Third-Party Administrator a notice and
                           statement of reasons indicating the Settlement Class Member’s
                           grounds for contesting the rejection along with any supporting
                           documentations, and requesting a review thereof by the Court. If a
                           dispute concerning a claim cannot be otherwise resolved,
                           Plaintiffs’ Lead Counsel Class Counsel shall thereafter present the
                           request for review to the Court;

                     (h)   Each Settlement Class Member shall be deemed to have submitted
                           to the jurisdiction of the Court with respect to a Settlement Class
                           Member’s claim.

                     (i)   Payment pursuant to this Settlement Agreement shall be made
                           pursuant to the Plan of Allocation set forth in this Settlement



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                                  Agreement, and shall be deemed final and conclusive against all
                                  Class Members with regard to the Released Claims. All Settlement
                                  Class Members whose claims are not approved by the Court shall
                                  be barred from participating in distributions from the Net
                                  Settlement Fund, but otherwise shall be bound by all of the terms
                                  of this Settlement Agreement.

                    B.     Notification to Claimants: The Claims Administrator shall notify a

    Settlement Class Member within forty-five (45) days of receiving the Claim Form and all

    necessary information, or as soon thereafter as reasonably practicable, whether the Claim will be

    accepted and paid pursuant to the terms of this Settlement Agreement and its Plan of Allocation

    or rejected.

            V.      ATTORNEY’S FEES AND INCENTIVE AWARDS

            A.      Application: Plaintiffs’ Lead Counsel, Receiver, and Receiver’s Counsel may

    submit an application or applications to the Court (the "Fee and Expense Application(s)") for

    distribution to them from the Settlement Fund, and Defendant Nettles shall not oppose such

    applications.

            B.      Plaintiff’s Lead Counsel: Plaintiffs’ Lead Counsel may submit a Fee and Expense

    Application which includes (a) a request for attorney’s fees not to exceed 33.33% of the

    Settlement Fund and (b) reimbursement of expenses and costs incurred, or to be incurred, in

    connection with prosecuting the Action, plus interest on such attorneys' fees, costs, and expenses

    at the same rate and for the same period as earned by the Settlement Fund (until paid) as may be

    awarded by the Court (the "Fee and Expense Award").

            C.      Receiver and Receiver’s Counsel: Receiver and Receiver’s Counsel may

    separately submit a Fee and Expense Application for the payment of their respective attorney’s

    fees, expenses and costs from the Net Settlement Fund pursuant to the Appointment Order.

            D.      Consideration by the Court: The procedure for, and the allowance or disallowance



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    by the Court of, the application(s) for the Fee and Expense Award to be paid out of the

    Settlement Fund, and any plan for distribution of the Settlement Fund to the Settlement Class,

    are to be considered by the Court separately from the Court's consideration of the fairness,

    reasonableness, and adequacy of the Settlement; and any order or proceeding relating to the Fee

    and Expense Application(s) or any plan of distribution, or any appeal from any such orders, shall

    not operate to terminate or cancel this Agreement or affect or delay the finality of the judgment

    approving the Settlement.

           E.      Timing of Payment: Plaintiffs' Lead Counsel, Receiver, and Receiver’s Counsel

    are permitted to withdraw funds in the escrow account for the amounts awarded by the Court for

    the Fee and Expense Application seven (7) business days after the Effective Date or upon such

    date set forth in any order of this Court, whichever shall occur first.

           F.      Incentive Awards: Each of the named Plaintiffs (i.e., Brandon Leidel and Michael

    Wilson) shall receive from the Net Settlement Fund five hundred dollars ($500) as an incentive

    award for the inconvenience and time spent in bringing this Action. The incentive awards shall

    be paid by from the Settlement Fund at the same time all Authorized Claims are paid.

           VI.     PLAN OF ALLOCATION

             A.      Establishing the Plan of Allocation

                   1.      The Net Settlement Fund shall be distributed to all Settlement Class

                           Members who submit timely, valid and acceptable Proof of Claim Forms

                           (“Authorized Claimants”).

                   2.      The Net Settlement Fund will be available to pay claims for losses

                           incurred by Authorized Claimants based upon Plaintiffs’ Lead Counsel’s

                           and the Receiver’s determination, of the merits and the relative strengths




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                      and weaknesses (including recoverable damages) of the Settlement Class

                      Members’ claims and the establishing of a fair and reasonable Plan of

                      Allocation based on the facts and circumstances of this Action, including

                      but not limited to the fact that Vernon destroyed all records of the

                      Settlement Class members’ holdings at Cryptsy and have refused by their

                      silence all requests to provide such information to Plaintiffs’ Lead Counsel

                      and the Receiver.

                3.    The Claims Administrator shall determine each Authorized Claimant’s pro

                      rata share of the Net Settlement Fund based upon each Authorized

                      Claimant’s “Recognized Claim” as set forth below in Section VIB & C.

                      The Recognized Claim formula is not intended to be an estimate of the

                      amount that a Settlement Class Member might have been able to recover

                      after a trial; nor is it an estimate of the amount that will be paid to

                      Authorized Claimants pursuant to this Plan of Allocation. The Recognized

                      Claim formula is the basis upon which the Net Settlement Fund will be

                      proportionately allocated to the Authorized Claimants. All payments made

                      to Authorized Claimants from the Net Settlement Fund pursuant to this

                      Plan of Allocation shall be made in United States Dollars ($).

           B.    Determination of Recognized Claims

                1.    Authorized Claimants who submit documentation sufficient to identify the

                      type, and determine the quantity of, cryptocurrency held at Cryptsy

                      between November 1, 2015 and the present date, such as account

                      statements or screen shots of account holdings, shall have a Recognized




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                       Claim in the amount equal to the Market Value of such cryptocurrency

                       between November 1, 2015 and the present date. NOTE: Persons in the

                       Settlement Class who do not submit documentation sufficient to identify

                       the type, and determine the quantity of, cryptocurrency held at Cryptsy

                       between November 1, 2015 and the present date shall not have a

                       Recognized Claim.

                2.     The Market Value of cryptocurrency shall be based on the closing price of

                       such cryptocurrency as of November 1, 2015, or the date such

                       cryptocurrency was deposited at Cryptsy, as applicable, based on the

                       historical pricing of cryptocurrency as provided by CoinBase, Inc., or such

                       other course of historical cryptocurrency pricing approved by the Court.

           C.    Distribution of the Net Settlement Fund

                1.     The Distribution from the respective share of the Net Settlement Fund, as

                       described immediately above in Sections VI(A) and (B), shall be

                       determined as follows: Each Authorized Claimant shall be allocated a pro

                       rata share of the Net Settlement Fund based on his, her or its Recognized

                       Claim compared to the Total Recognized Claims of all Authorized

                       Claimants. The pro rata shares shall be determined by multiplying each

                       Authorized Claimant’s “Recognized Claim” by a fraction, the numerator

                       of which shall be the amount of the Net Settlement Fund and the

                       denominator of which shall be the Total Recognized Claims of all

                       Authorized Claimants. Settlement Class Members who do not submit

                       acceptable Proof of Claim forms will not share in the proceeds of the Net




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                     Settlement Funds, but will nevertheless be bound by the Settlement and

                     the Court’s Final Judgment and Order of Dismissal dismissing this Action.

               2.    Distributions will be made to Authorized Claimants after all claims have

                     been processed and after the Court has finally approved the Settlement. If

                     any funds remain in the Net Settlement Fund, by reason of un-cashed

                     checks or otherwise, then, after the Claims Administrator has made

                     reasonable and diligent efforts to have Authorized Claimants cash their

                     distributions, and after Plaintiffs’ Lead Counsel and Receiver have

                     exhausted all efforts to recover monies from third-parties for the benefit of

                     the Settlement Class, any balance remaining in the Net Settlement Fund

                     six months after the initial distribution of such funds shall be re-distributed

                     to Authorized Claimants who have cashed their initial distributions and

                     who would receive, based on their Recognized Claim, a pro rata share of

                     at least $5.00 from such re-distribution, after payment of any unpaid costs

                     or fees incurred in administering the Net Settlement Fund for such re-

                     distribution. If, six (6) months after such re- distribution, any funds remain

                     in the Net Settlement Fund, then such balance shall be contributed to a

                     non-sectarian, not-for-profit, 501(c)(3) organizations proposed by the

                     parties and approved by the Court.

               3.    If Plaintiffs’ Lead Counsel and the Receiver recover additional monies or

                     other assets for the benefit of the Settlement Class following the

                     distributions detailed above (the Potential Future Settlement Fund, such

                     Potential Future Settlement Fund shall be distributed to the Settlement




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                          Class as set forth in this Settlement Agreement, subject to approval of the

                          Court.

                  4.      Plaintiffs, Defendant Nettles, the Receiver, their respective counsel, and

                          all other Released Parties shall have no responsibility or liability

                          whatsoever for the investment or distribution of the Settlement Fund, the

                          Net Settlement Fund or any portion thereof, the Plan of Allocation or the

                          determination, administration, calculation, or payment of any Proof of

                          Claim or non-performance of the Claims Administrator, the payment or

                          withholding of taxes owed by the Settlement Fund or any losses incurred

                          in connection therewith.

           VII.   COURT APPROVAL AND OBJECTION PROCEDURES

           A.     Reasonable Efforts: Plaintiffs' Lead Counsel and Defendant’s Counsel agree that

    they will use reasonable efforts to: (i) recommend and obtain approval of this Sett1ement

    Agreement by the Court pursuant to Rule 23(e); (ii) carry out the terms of this Settlement

    Agreement; (iii) support this Settlement Agreement in all public statements; and (iv) secure the

    prompt, complete and final dismissal with prejudice of the Action against the Released Party.

           B.     Motion for Preliminary Approval: Following the execution of this Agreement,

    Plaintiffs' Lead Counsel shall file in the Court a motion for Preliminary Approval that seeks

    entry of a proposed Preliminary Approval Order that would, for settlement purposes only:

                  1.      Preliminarily approve this Settlement Agreement;

                  2.      Approve the proposed Class Claim Form and Notice in the form

                          substantially similar to the form attached hereto as Exhibits A and B; and

                  3.      Allow Receiver and Plaintiffs’ Lead Counsel to retain the Claims




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                         Administrator for the Notice and administration of the Settlement

                         Agreement and to allow the Receiver to act as the Escrow Agent.

    Defendant Nettles shall join in this motion, and will agree that the Settlement Agreement should

    be preliminarily approved.

           D.     Voluntary Exclusion of Class Members from Settlement Class

                  1.     Opt Out Rights: Class Members have the right to exclude themselves

                         ("Opt Out") from this Agreement and from the Settlement Class by timely

                         submitting a request to Opt Out pursuant to §VIID(3) below.         Class

                         Members who so timely request to Opt Out shall be excluded from this

                         Agreement and from the Settlement Class. Any Class Member who does

                         not timely submit a request to Opt Out or does not otherwise comply with

                         the agreed upon Opt Out procedure approved by the Court shall be bound

                         by the terms of this Agreement and the Final Approval Order and

                         Judgment. Any Class Member who does not Opt Out of this Agreement

                         shall be deemed to have taken all actions necessary to withdraw and

                         revoke the assignment to any Person of any Claim against the Released

                         Party.

                             Any Class Member who timely submits a request to Opt Out shall have

                         until seven (7) days prior to the Final Approval Hearing Date in the Court

                         to deliver to Plaintiffs' Lead Counsel and the Claims Administrator a

                         written revocation of such Class Member's request to Opt Out. Plaintiffs'

                         Lead Counsel shall timely apprise the Court of such revocations.

                          Within ten (10) days after the Opt Out Deadline, the Claims




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                         Administrator shall furnish Plaintiffs' Lead Counsel and Defendant's

                         Counsel with a complete list of all Opt Out requests submitted by the Opt-

                         Out Deadline and not timely revoked.

                  2.     Deadline to Opt Out from Settlement Class: All Class Members will be

                         given sixty (60) days after the Notice Date (the "Opt Out Deadline") to

                         Opt Out.

                  3.     Request to Opt Out: A Class Member must Opt Out of the Settlement

                         Class by notifying the Claims Administrator in writing postmarked on or

                         before the Opt Out Deadline of his/her intention to exclude himself/herself

                         from the Settlement Class. The Class Member seeking to Opt Out must

                         include his/her name, address, telephone and signature in his/her written

                         request to Opt Out and otherwise comply with the requirements set forth

                         in this Agreement. The initial determination that each request to Opt Out

                         by a Class Member complies with the Opt Out procedures in this

                         Agreement will be made by the Claims Administrator and is subject to

                         final approval by the Court as part of the Final Approval of the Settlement

                         Agreement. The Court may disallow any request for exclusion that fails to

                         comply with the provisions of Preliminary Approval Order or the Opt Out

                         procedures otherwise approved by the Court.

           E.     Procedures for Objecting to the Settlement: Any objection to this Settlement

    Agreement, including any of its terms or provisions, must be served on Marc A. Wites, Esq.,

    Wites & Kapetan, P.A., 4400 North Federal Highway, Lighthouse Point, FL 33064 and Mark

    Levy, Esq., Brinkley Morgan, 200 East Las Olas Boulevard, 19th Floor, Fort Lauderdale, FL




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    33301, and filed with the Court in writing no later than thirty (30) days prior to the Final

    Approval Hearing Date as set forth in the Class Notice (the "Objection Date"). Any person or

    entity filing an objection in the Court shall, by doing so, submit himself, herself or itself to the

    exclusive jurisdiction and venue of the United States District Court for the Southern District of

    Florida.

           F.      Motion for Entry of Final Approval Order and Judgment

                   1.         Hearing on Motion for Final Approval Order and Judgment: The Motion

                              for Entry of Final Approval Order and Judgment of this Settlement

                              Agreement will be set for hearing by the Court as soon as is practical. The

                              Parties shall seek entry of a "Final Approval Order and Judgment" that,

                              inter alia:

                              (a)     Approves finally this Settlement Agreement and its terms as being
                                      a fair, reasonable and adequate settlement as to the Class Members
                                      within the meaning of Rule 23 of the Federal Rules of Civil
                                      Procedure, the Class Action Fairness Act, and other applicable
                                      law;

                              (b)     Determines that the Class Notice, as approved by the Preliminary
                                      Approval Order, constitutes reasonable and the best practicable
                                      notice reasonably calculated under the circumstances to apprise
                                      members of the Settlement Class of the pendency of the Action,
                                      the terms of the Settlement Agreement, the right to object or opt-
                                      out, and the right to appear at the hearing on Final Approval, the
                                      claims procedure, that the Class Notice is adequate and sufficient
                                      to all persons entitled to receive such notices, and meets the
                                      requirements of due process and other applicable rules or laws; and

                              (c)     Determines that there is no just reason for delay and that the Final
                                      Approval Order and Judgment shall be final and entered.

    Defendant Nettles shall join in this motion, and will agree that the Settlement Agreement should

    receive final approval.

                   2.         Effect of Entry of a Final Approval Order and Judgment: The Claims



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                          Administrator's distribution procedures under the Settlement Agreement

                          shall commence no earlier than seven (7) business days after the Effective

                          Date or the receipt of good and cleared funds from the sale of the monies,

                          personal and real property that comprise the Settlement Amount,

                          whichever shall occur first.

            VIII. RELEASE OF CLAIMS

            Upon entry of the Final Approval Order and Entry of Judgment by the Court, the

    Releasing Parties forever release and discharge all Released Claims against the Released Party.

    For purposes of this Settlement Agreement, "Released Claims" means any individual, class,

    representative, group or collective claim, liability, right, demand, suit, matter, obligation,

    damage, loss, action or cause of action, of every kind and description, that a Releasing Party has

    or may have, including assigned claims, whether known or unknown, asserted or unasserted,

    latent or patent, that is, has been, could reasonably have been or in the future might reasonably

    be asserted by the Releasing Party either in the Court or any other court or forum, regardless of

    legal theory, and regardless of the type of relief or amount of damages claimed, against any of

    the Released Party, arising from allegations in the Action and occurring prior to August 15,

    2016.

            IX.    OTHER PROVISIONS

            A.     No Admission: Nothing herein shall constitute any admission as to any assertion,

    claim, or allegation made by any party, or as to the scope of liability. Defendant Nettles

    specifically denies any wrongdoing or liability, and this Settlement Agreement is entered to

    resolve all claims amicably and does not imply or suggest in any way fault or wrongdoing. The

    Parties hereto agree that this Settlement Agreement and its Exhibits, and any and all associated

    negotiations, documents, discussions, shall not be deemed or construed by anyone to be an


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    admission or evidence of any violation of any statute or law, or of any liability or wrongdoing by

    Defendant Nettles.

           B.      Press Releases and Other Disclosures: Any party is permitted to further publicize

    the Settlement.

           C.      Right to Rescind the Settlement Agreement: Defendant Nettles has the unilateral

    right to terminate this Settlement Agreement, declare it null and void, and have no further

    obligations under this Settlement Agreement by delivering a written notice of termination to all

    other Parties if any of the following conditions subsequent occurs:

                   1.      The Parties fail to obtain and maintain Preliminary Approval of the

                           proposed settlement;

                   2.      The Court fails to enter a Final Approval Order and Judgment consistent

                           with the provisions in Section VII(F); or

                      3.   The settlement is not upheld on appeal, including review by any appellate

                           court. The failure of the Court or any appellate court to approve in full the

                           request by Plaintiffs' Lead Counsel for attorneys' fees and other expenses

                           shall not be grounds for the Plaintiffs' Lead Counsel or the Settlement

                           Class to cancel or terminate this Settlement Agreement.

                      4.   If the Settlement Agreement is not granted Final Approval or if the

                           Settlement is not upheld on appeal, or is otherwise terminated for any

                           reason before the Effective Date, the Settlement Class shall be decertified;

                           the Settlement Agreement and all negotiations, proceedings, and

                           documents prepared, and statements made in connection therewith, shall

                           be without prejudice to any Released Party and shall not be deemed or




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                          construed to be an admission or confession by any Released Party of any

                          fact, matter, or proposition of law; and all Parties and Released Parties

                          shall stand in the same procedural position as if the Settlement Agreement

                          had not been negotiated, made, or filed with the Court.

           D.      Binding Effect: Upon the Effective Date, , this Settlement Agreement shall be

    binding upon and inure to the benefit of the Parties, including each Settlement Class Member and

    their successors and assigns.

           E.      Defendant Nettles' Solvency: Defendant Nettles warrants, as to the payments

    made by or on behalf of the Defendant, that at the time of such payment that Defendant was not

    insolvent nor will the payment required to be made by the Defendant render such Defendant

    insolvent within the meaning and/or for the purposes of the United States Bankruptcy Code,

    including §§101 and 547 thereof.

           F.      Choice of Law: Claims for breach of this Settlement Agreement shall be governed

    by and interpreted according to the substantive law of the State of Florida without regard to

    choice of law principles.

           G.      Execution of Counterparts: The signatories may execute this Settlement

    Agreement in counterparts, each of which shall be deemed an original.

           H.      Entire Agreement; Amendment: This Settlement Agreement, with its Exhibits,

    constitutes the entire and complete agreement among the Parties and supersedes all prior

    agreements, documents and understanding of the Parties related to the subject matter of this

    Settlement Agreement, including the Mediation Agreement.          This Agreement shall not be

    modified in any respect except by writing executed by Defendant’s Counsel and Plaintiffs' Lead

    Counsel.




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           I.       Continuing Jurisdiction and Exclusive Venue: Except as otherwise provided in

    this Agreement, each of the Parties, including each member of the Settlement Class, and

    Releasing Parties that are otherwise subject to the jurisdiction of a United States court hereby

    irrevocably submits to the exclusive jurisdiction and venue of the United States District Court for

    the Southern District of Florida for any suit, action, proceeding, case, controversy, or dispute

    arising in the United States and relating to this Agreement and/or Exhibits hereto and

    negotiation, performance, or breach of same.

           J.       Authority:       Each of the undersigned attorneys represents that he or she is fully

    authorized to enter into the terms and conditions of, and to execute, this Settlement Agreement.

    Each of the undersigned shall use his or her reasonable efforts to effectuate this Settlement

    Agreement.

           K.       No Party is the Drafter: None of the Parties to this Settlement Agreement shall be

    considered to be the primary drafter of this Settlement Agreement or any provision hereof for the

    purpose of any rule of interpretation or construction that might cause any provision to be

    construed against the drafter.

           L.       Computation of Time: In computing any period of time prescribed or allowed by

    this Settlement Agreement, the provisions of United States Federal Rule of Civil Procedure 6

    shall govern.

           M.       Signatures: The signatories to this Settlement Agreement may execute it in

    counterparts, each of which shall be deemed an original. Signatures may be provided via

    facsimile or in PDF.




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          !, ,:




                                                         Dated: October _,2016.
         Brandon Leidel


                                                                         ;r'
                                                         Dated: October,'J' i, 2016.


         By:                                             Dated: October _,2A16.
         Marc A. Wites, Wites & Kapetan, P.A.


         By:                                             Dated: October_,2016.
         David C. Silver, Silver Law Group


         By:                                             Dated: October_,2016.
         James D. Sallah, Receiver



         By:                                             Dated: October_,2016.
.j       Patrick J. Rengstl, Receiver's Counsel


         By:                                             Dated: October_,2A16.
         Mark A. Levy, Defendant Nettles' Counsel



         By:                                             Dated: October_,2016.
         Lorie Ann Nettles




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                                          Exhibit A

                              UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF FLORIDA

                                  CASE NO. 9:16-cv-80060-MARRA
    BRANDON LEIDEL, and
    MICHAEL WILSON, individually,
    and on behalf of All Others Similarly
    Situated,

           Plaintiffs,
    v.

    PROJECT INVESTORS, INC.,
    d/b/a CRYPTSY, a Florida corporation,
    PAUL VERNON, an individual, and
    LORIE ANN NETTLES, an individual,

          Defendants.
    ________________________________/

                               PROOF OF CLAIM AND RELEASE
                                  I. GENERAL INSTRUCTIONS
           1. To recover as a Member of the Class based on your claims in the action entitled
    ___________________ (the “Litigation”), you must complete and, on page __ hereof, sign this
    Proof of Claim and Release form, and include the required supporting documents. If you fail to
    submit a timely and properly addressed (as set forth in paragraph 3 below) Proof of Claim and
    Release form, your claim may be rejected and you may not receive any recovery from the Net
    Settlement Fund created in connection with the proposed settlement.
           2. Submission of this Proof of Claim and Release form, however, does not assure that
    you will share in the proceeds of the settlement of the Litigation.
         3. YOU MUST MAIL OR SUBMIT ONLINE YOUR COMPLETED AND
    SIGNED PROOF OF CLAIM AND RELEASE FORM, ACCOMPANIED BY COPIES
    OF THE DOCUMENTS REQUESTED HEREIN, NO LATER THAN __________, 201X,
    ADDRESSED AS FOLLOWS:
                                    Cryptsy Claims Administrator
                                            P.O. xxxxxx
                                         CITY STATE ZIP
    If you are NOT a Member of the Class (as defined in the Notice of Proposed Settlement of
    Class Action (“Notice”)) DO NOT submit a Proof of Claim and Release form.
            4.       If you are a Member of the Class and you did not timely request exclusion in
     response to the Notice of Proposed Settlement dated ________, 201X, you are bound by the
     terms of any judgment entered in the Litigation, including the releases provided therein,
     WHETHER OR NOT YOU SUBMIT A PROOF OF CLAIM AND RELEASE FORM.




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                                 II. CLAIMANT IDENTIFICATION
            You may submit a Claim if you are a member of the Class. You are a member of the
    Class if between November 1, 2015 and the present date, you were a Cryptsy account holder,
    and held at Cryptsy Bitcoins, alternative cryptocurrencies, or any other form of monies or
    currency that you are unable to access, trade or otherwise obtain, your cryptocurrency.
           Use Part A of this form entitled “Claimant Identification” to yourself.
            You must sign this claim. Executors, administrators, guardians, conservators, and
    trustees must complete and sign this claim on behalf of persons represented by them and their
    authority must accompany this claim and their titles or capacities must be stated. Failure to
    provide the foregoing information could delay verification of your claim or result in rejection of
    the claim.

                                             III. CLAIM FORM

           Use Part B of this form entitled “Schedule of Holdings” to supply all required details of
    your holdings at Cryptsy between November 1, 2015 and the present date. If you need more
    space or additional schedules, attach separate sheets giving all of the required information in
    substantially the same form. Sign and print or type your name on each additional sheet.

            On the schedules, provide all of the requested information with respect to all of your
    holdings. You must also provide proof of your holdings, such as an account statement, screen
    shots, trade verifications or other documents that establish that you held such cryptocurrency at
    Cryptsy between November 1, 2015 and the present date. Failure to report all such transactions
    may result in the rejection of your claim.

            NOTICE REGARDING ELECTRONIC FILES: Certain claimants with large numbers
    of transactions may request, or may be requested, to submit information regarding their
    transactions in electronic files. All claimants MUST submit a manually signed paper Proof of
    Claim and Release form whether or not they also submit electronic copies. If you wish to file
    your claim electronically, you must contact the Claims Administrator at 1-8xx-xxx-xxxx to
    obtain the required file layout. No electronic files will be considered to have been properly
    submitted unless the Claims Administrator issues to the claimant a written acknowledgment of
    receipt and acceptance of electronically submitted data.

                             PART A: CLAIMANT IDENTIFICATION

    LAST NAME:                                   M.I.    FIRST NAME


    SOCIAL SECURITY NUMBER                       OR      TAXPAYER ID


    TELEPHONE NUMBER

    EMAIL ADDRESS




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    MAILING INFORMATION

    ADDRESS

    CITY                                         STATE                 ZIP CODE

    FOREIGN PROVINCE                                    FOREIGN POSTAL CODE FOREIGN
    COUNTRY NAME/ABBREVIATION



    Passport Number or Personal Identification Number, and country             Date of Birth
    where issued. Please provide a complete copy of your passport              (Day/Month/Year)
    and any other personal identification you may have.


                               PART B: SCHEDULE OF HOLDINGS

    CRYPTOCURRENCY                     DATE PURCHASED/                  QUANTITY HELD
                                       QUANTITY PURCHASED               BETWEEN 11/1/2015
                                                                        AND THE PRESENT
                                                                        DATE




    Please identify any redemptions, returns, transfers or any other return or recovery of money or
    cryptocurrencies that you have already received associated with your holdings at Cryptsy held
    between November 1, 2015 and the present date. Such would include, but not be limited to,
    recoveries from claims and/or lawsuits that you threatened or filed, or any other source. For each
    return/recovery of money or cryptocurrencies, provide the date you received same, from whom
    you received same, and the amount of money or cryptocurrencies recovered/returned.

           Date                   Amount                        From Whom Did You Receive




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                               IV. SUBMISSION TO JURISDICTION
                              OF COURT AND ACKNOWLEDGMENTS

            I (We) submit this Proof of Claim and Release under the terms of the Settlement
    Agreement described in the Notice. I (We) also submit to the jurisdiction of the United States
    District Court for the Southern District of Florida, with respect to my (our) claim as a Class
    Member and for purposes of enforcing the release set forth herein. I (We) further acknowledge
    that I am (we are) bound by and subject to the terms of any judgment that may be entered in the
    Litigation. I (We) agree to furnish additional information to the Claims Administrator to support
    this claim if requested to do so. I (We) have not submitted any other claim covering the same
    Cryptsy holdings and know of no other person having done so on my (our) behalf.

            V.   RELEASE

             1.     I (We) hereby acknowledge full and complete satisfaction of, and do hereby fully,
    finally, and forever settle, release, and discharge from the Released Claims the “Released Party,”
    which means Defendant Nettles, her agents, attorneys, successors and assigns, but expressly
    excludes the Cryptsy Defendants (including without limitation natural persons, firms,
    corporations, officers, directors, shareholders, limited liability companies, members, managers,
    joint ventures, joint stock companies, unincorporated organizations, agencies, bodies,
    associations, partnerships, limited liability partnerships, partners, and their predecessors,
    successors, administrators, executors, heirs and assigns) and any other person or entity not yet
    sued in the Action by Plaintiffs and Receiver, including but not limited to Defendant Paul
    Vernon.

            2.      “Released Claims” means means any individual, class, representative, group or
    collective claim, liability, right, demand, suit, matter, obligation, damage, loss, action or cause of
    action, of every kind and description, that a Releasing Party has or may have, including assigned
    claims, whether known or unknown, asserted or unasserted, latent or patent, that is, has been,
    could reasonably have been or in the future might reasonably be asserted by the Releasing Party
    either in the Court or any other court or forum, regardless of legal theory, and regardless of the
    type of relief or amount of damages claimed, against any of the Released Party, arising from
    allegations in the Action and occurring prior to August 15, 2016.

            This release shall be of no force or effect unless and until the Court approves the
    Settlement Agreement and the Settlement Agreement becomes effective on the Effective Date
    (as defined in the Settlement Agreement).

            4.     I (We) hereby warrant and represent that I (we) have not assigned or transferred or
    purported to assign or transfer, voluntarily or involuntarily, any matter released pursuant to this
    release or any other part or portion thereof.

           A.     I (We) hereby warrant and represent that I (we) have included the information
    requested about all of Cryptsy holdings which are the subject of this claim.




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            B.      I declare under penalty of perjury under the laws of the United States of America
    that all of the foregoing information supplied on this Proof of Claim and Release form by the
    undersigned is true and correct.


    Executed this _____ day of ______ in ________________________________
                                        (city, state zip)


    __________________________________                 __________________________________
    (Sign your name here)                              (Sign your name here)



    __________________________________                 __________________________________
    (Type or print your name here)                     (Type or print your name here)




    __________________________________                 __________________________________
    Capacity of Person Signing                         Capacity of Person Signing
    (e.g., Beneficial Purchaser, Executor or           (e.g., Beneficial Purchaser, Executor or
    Administrator)                                     Administrator)




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     ACCURATE CLAIMS PROCESSING TAKES A SIGNIFICANT AMOUNT OF TIME.
                     THANK YOU FOR YOUR PATIENCE.

                                REMINDER CHECKLIST


     1. Please sign the above release         6. If you desire an acknowledgment of
     and declaration.                         receipt of your claim form please send
                                              it Certified Mail, Return Receipt
     2. If this Claim is being made on        Requested.
        behalf of Joint Claimants, then
        both must sign.                       7. If you move, please send your new
                                              address to the address below.
     3. Remember to attach copies of
        supporting documentation.             8. Do not use red pen or highlighter
                                                 on the Proof of Claim and Release
     4. Do not send original documents.          form or supporting
                                                 documentation.
     5. Keep a copy of your claim
        form and all supporting
        documentation for your records.




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       THIS PROOF OF CLAIM AND RELEASE MUST BE SUBMITTED ONLINE OR, IF
                MAILED, POSTMARKED NO LATER THAN ______, 201X,
                           ADDRESSED AS FOLLOWS:

                         CRYPTSY CLAIMS ADMINISTRATOR
                                    ADDRESS
                                 CITY STATE ZIP




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                                Exhibit B
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